JS 44 (Rev. 04/21)                                                      CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
       KARA HARDIE and KYLE O’BRIEN, individually and on                                                REAL PAGE, INC.
       behalf of all others similarly situated                                                          [see attached Exhibit A for additional Defendants]
   (b) County of Residence of First Listed Plaintiff Philadelphia, PA                                   County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)           Attorneys (If Known)
       Hagens Berman Sobol Shapiro LLP,
       1301 2nd Ave., Ste. 2000, Seattle, WA 98101; (206)
       623-7292
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               ✖ 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government                 4   Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY              PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158       375 False Claims Act
  120 Marine                          310 Airplane                365 Personal Injury -               of Property 21 USC 881           423 Withdrawal              376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product            Product Liability           690 Other                                28 USC 157                  3729(a))
  140 Negotiable Instrument                Liability              367 Health Care/                                                       INTELLECTUAL              400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &            Pharmaceutical                                                   PROPERTY RIGHTS           ✖ 410 Antitrust
      & Enforcement of Judgment            Slander                    Personal Injury                                                  820 Copyrights              430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’          Product Liability                                                830 Patent                  450 Commerce
  152 Recovery of Defaulted                Liability              368 Asbestos Personal                                                835 Patent - Abbreviated    460 Deportation
       Student Loans                  340 Marine                      Injury Product                                                       New Drug Application    470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product              Liability                                                        840 Trademark                   Corrupt Organizations
  153 Recovery of Overpayment              Liability             PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets    480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle           370 Other Fraud                 710 Fair Labor Standards                 Act of 2016                 (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle           371 Truth in Lending                Act                                                          485 Telephone Consumer
  190 Other Contract                      Product Liability       380 Other Personal              720 Labor/Management                  SOCIAL SECURITY                Protection Act
  195 Contract Product Liability      360 Other Personal              Property Damage                 Relations                        861 HIA (1395ff)            490 Cable/Sat TV
  196 Franchise                           Injury                  385 Property Damage             740 Railway Labor Act                862 Black Lung (923)        850 Securities/Commodities/
                                      362 Personal Injury -           Product Liability           751 Family and Medical               863 DIWC/DIWW (405(g))          Exchange
                                          Medical Malpractice                                         Leave Act                        864 SSID Title XVI          890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS             PRISONER PETITIONS               790 Other Labor Litigation           865 RSI (405(g))            891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights      Habeas Corpus:                  791 Employee Retirement                                          893 Environmental Matters
  220 Foreclosure                     441 Voting                  463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS           895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment              510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff       Act
  240 Torts to Land                   443 Housing/                    Sentence                                                              or Defendant)          896 Arbitration
  245 Tort Product Liability              Accommodations          530 General                                                          871 IRS—Third Party         899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -  535 Death Penalty                   IMMIGRATION                           26 USC 7609                Act/Review or Appeal of
                                          Employment              Other:                          462 Naturalization Application                                       Agency Decision
                                      446 Amer. w/Disabilities -  540 Mandamus & Other            465 Other Immigration                                            950 Constitutionality of
                                          Other                   550 Civil Rights                    Actions                                                          State Statutes
                                      448 Education               555 Prison Condition
                                                                  560 Civil Detainee -
                                                                      Conditions of
                                                                      Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3    Remanded from               4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
       Proceeding          State Court                           Appellate Court               Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                           (specify)                  Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       15 U.S.C. § 1
VI. CAUSE OF ACTION Brief description of cause:
                                       Violation of Sherman Antitrust Act
VII. REQUESTED IN     ✖ CHECK IF THIS IS A CLASS ACTION           DEMAND $                                                                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                             JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE  see attached Exhibit A                                                               DOCKET NUMBER see attached Exhibit A
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
January 11, 2023                                                     /s/ Steve W. Berman
FOR OFFICE USE ONLY

  RECEIPT #
                     CaseAMOUNT
                          3:23-cv-00388                              APPLYING IFP
                                                                  Document   1-1                            JUDGE
                                                                                                Filed 01/11/23                MAG. JUDGE
                                                                                                                  Page 1 of 3 PageID    #: 24
                                       EXHIBIT A
ADDITIONAL DEFENDANTS:
Greystar Real Estate Partners, LLC
Lincoln Property Co.
FPI Management, Inc.
Mid-America Apartment Communities, Inc.
Avenue5 Residential, LLC
Equity Residential
Essex Property Trust, Inc.
Thrive Communities Management, LLC
Security Properties Inc.
RELATED CASES:

JUDGE/DOCKET NUMBER

Robert S. Lasnik - 2:22-cv-01552-RSL

Robert S. Lasnik - 2:22-cv-01617-RSL

Robert S. Lasnik - 2:22-cv-01618-RSL

Robert S. Lasnik - 2:22-cv-01712-RSL

Robert S. Lasnik - 2:22-cv-01726-RSL

Robert S. Lasnik - 2:22-cv-01734-RSL

Robert S. Lasnik - 2:22-cv-01740-RSL

Robert S. Lasnik - 2:22-cv-01743-RSL

Robert S. Lasnik - 2:22-cv-01744-RSL

Robert S. Lasnik - 2:22-cv-01759-RSL

Robert S. Lasnik - 2:22-cv-01779-RSL

Robert S. Lasnik - 2:22-cv-01802-RSL


                                            1

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Richard A. Jones - 2:23-cv-00013-RAJ




                                         2

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